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                     IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

LARRY G. PHILPOT,                                §
                                                 §
       Plaintiff,                                §
                                                 §
v.                                               §          CASE NO.: 1:18-cv-339-RP
                                                 §
WOS, INC.,                                       §
                                                 §
       Defendant                                 §

                             RULE 68 OFFER OF JUDGMENT

       Pursuant to Fed. R. Civ. P. 68, Defendant WOS, Inc. hereby offers to allow entry

of judgment to be taken in Plaintiff Larry G. Philpot’s favor and against Defendant, for the total

sum    of FORTY THOUSAND DOLLARS ($40,000.00), which includes all amounts

recoverable for damages, taxable costs, and attorney’s fees. $40,000.00 is the total amount

Defendant will pay Plaintiff in this action, including all costs of suit and any attorneys’

fees otherwise recoverable by Plaintiff.

       Pursuant to Rule 68(d), if Plaintiff does not accept this offer, he may become obligated

to pay Defendant’s costs after the making of this offer if Plaintiff does not recover a judgment

that is more favorable than this $40,000.00 offer of judgment.

       To accept this offer, Plaintiff must serve Defendants with a written notice of acceptance

within fourteen (14) days of the date this offer is made and served on Plaintiff.

       This offer is not and should not be construed as an admission of any liability by

Defendant. It is being made solely for the purposes of compromising on a disputed claim.
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Dated: April 9, 2019

                                                            /s/ JT Morris
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                                                            Tel: 512-717-5275
                                                            Fax: 512-582-2948

                                                            Counsel for Defendant WOS, Inc.


                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served on April 9, 2019 by electronic mail as
follows:

      Kenton Hutcherson
      Hutcherson Law, PLLC
      3131 McKinney Avenue, Suite 600
      Dallas, TX 75204
      kjh@hutchersonlaw.com


                                            /s/ JT Morris
                                            JT Morris
